         Case 1:21-cr-00225-DLF Document 1-1 Filed 02/24/21 Page 1 of 7




                                   STATEMENT OF FACTS

        Your affiant, Robert Mayo, is a Special Agent assigned to the Federal Bureau of
Investigation’s Washington Field Office. I am assigned to investigate various criminal matters in
the Washington D.C. region. In preparation for this assignment, and as part of my continuing
education, I have completed various trainings, including organizational sponsored computer
training as well as computer training at the SANS institute. I have participated in all aspects of
criminal investigations, including arrest operations, swearing out search warrants, conducting
physical surveillance, telephone, e-mail, and financial analysis obtained as a result of subpoenas,
subject interviews, witness interviews, electronic surveillance, and operations of confidential
human sources. I am a Special Agent with the FBI, within the meaning of 18 U.S.C. § 3052, and
as such I am authorized to investigate crimes involving computer intrusions and other financial
crimes stated under federal law, including Title 18 of the United States Code. Currently, I am a
tasked with investigating criminal activity in and around the Capitol grounds on January 6, 2021.
As a Special Agent, I am authorized by law or by a Government agency to engage in or supervise
the prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

                      Background – The U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.
              Case 1:21-cr-00225-DLF Document 1-1 Filed 02/24/21 Page 2 of 7




       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                      Facts Specific to TRENISS EVANS

        The FBI received multiple tips from the public, related to the events that occurred at the
United States Capitol on January 6, 2021. On approximately January 12, 2021 a tipster
(“WITNESS 1”) provided information specifically related to TRENISS EVANS. As this tipster
requested to remain anonymous, the information was not verified. WITNESS 1 disclosed to law
enforcement that they were an acquaintance of one of EVANS’ family members. Based on
information communicated through a third party, WITNESS 1 stated that they understood EVANS
was present at the Capitol on January 6, 2021. Furthermore, WITNESS 1 understood EVANS to
have “taken shots of fireball” in Nancy Pelosi’s office and captured video of the days’ events on
his cellular telephone. WITNESS 1 also provided a picture of EVANS which may be observed
below: 1




       On approximately January 15, 2021, another tipster provided a URL to a Facebook page
which showed video of people outside the United States Capitol Building on January 6, 2021. 2

1
    The face of the other individual pictured in the photograph has been obscured.
2
    https://www.facebook.com/NowThisPolitics/videos/529897831302581
         Case 1:21-cr-00225-DLF Document 1-1 Filed 02/24/21 Page 3 of 7




Your affiant has viewed this video, and it shows scenes from what appear to be events related to
the rioting and other offenses at the Capitol Building. In the video, an individual matching the
above photo provided by WITNESS 1 appears at the steps of the Capitol Building with a
megaphone. He is heard saying, “I don’t support looting, I don’t support the violence, I support a
peaceful protest to put them on notice that we the people demand justice.” A picture from the video
may be observed below:




        On January 17, 2021, FBI Special Agents attempted to interview EVANS at his residence
located in Canyon Lake, Texas. EVANS confirmed his identity and provided the Agents with his
telephone number (hereinafter “TELEPHONE 1”). EVANS informed the agents that he had
retained counsel who had advised that he not talk to them without his lawyer present. Your affiant
has spoken with these agents who have confirmed that the above photographs of EVANS match
the description of the person they attempted to interview when they approached EVANS on
January 17, 2021.

                         Location Information Associated with EVANS

        According to records obtained through a search warrant which was served on Google, a
mobile device associated with an anonymized Identification Number of 1798971945 (“TARGET
DEVICE 1”) was present at the U.S. Capitol on January 6, 2021. Google estimates device location
using sources including GPS data and information about nearby Wi-Fi access points and Bluetooth
beacons. This location data varies in its accuracy, depending on the source(s) of the data. As a
result, Google assigns a “maps display radius” for each location data point. Thus, where Google
estimates that its location data is accurate to within 10 meters, Google assigns a “maps display
radius” of 10 meters to the location data point. Finally, Google reports that its “maps display
radius” reflects the actual location of the covered device approximately 68% of the time. In this
case, Google location data shows that a device associated with TARGET DEVICE 1 was within
         Case 1:21-cr-00225-DLF Document 1-1 Filed 02/24/21 Page 4 of 7




the U.S. Capitol on January 6, 2021 during the offenses described above. For certain periods on
January 6, Google records show that the “maps display radius” for this location data encompasses
an area that is entirely within the U.S. Capitol Building.

        Law enforcement officers, to the best of their ability, have compiled a list (the “Exclusion
List”) of any Identification Numbers, related devices, and information related to individuals who
were authorized to be inside the U.S. Capitol during the events of January 6, 2021, described
above. Such authorized individuals include: Congressional Members and Staffers, responding law
enforcement agents and officers, Secret Service Protectees, otherwise authorized governmental
employees, and responding medical staff.

       TARGET DEVICE 1 is not on the Exclusion List. Accordingly, I believe that the individual
possessing this device was not authorized to be within the U.S. Capitol Building on January 6,
2021.

       Records provided by Google revealed that the device with the anonymized Identification
number of 1798971945 (i.e., TARGET DEVICE 1) belonged to a Google account registered in
the name of “Treniss Evans.” The Google user ID for the account incorporates the name “Treniss,”
and a Microsoft Hotmail email account listed as a recovery account for the Google account also
incorporates the name “Treniss.” The Google account also lists a recovery SMS phone number
that matches TELEPHONE 1, the telephone number that EVANS provided to FBI agents on
January 17, 2021.

                                         CCTV Footage

        On February 10, 2021 the United States Capitol Police provided the FBI closed circuit
television footage (“CCTV”) which was captured by security cameras inside the United States
Capitol building on January 6, 2021. In this video, a man matching the above photographs of
EVANS is observed climbing through a broken window of the Capitol building at approximately
3:00 p.m. He is wearing the same distinctive yellow cap, olive green jacket or sweatshirt, backpack
straps, and other recognizable clothing as shown in the Facebook video referenced above. This
individual then proceeds to spend approximately 20 minutes walking around inside the building
before exiting. EVANS is also seen using a cellular telephone and carrying a megaphone while
inside the building. Your affiant has spoken with United States Capitol Police who have confirmed
that EVANS was not authorized to be in the Capitol during the time of the captured footage.

       Your affiant submits the below pictures, taken from screenshots of the CCTV footage.
Your affiant has confirmed with the Agents who attempted to interview EVANS that the individual
observed in the CCTV footage matches the person they attempted to interview.
  Case 1:21-cr-00225-DLF Document 1-1 Filed 02/24/21 Page 5 of 7




EVANS climbing through broken window.




EVANS inside the United States Capitol
         Case 1:21-cr-00225-DLF Document 1-1 Filed 02/24/21 Page 6 of 7




       EVANS appearing to take a video of himself from a cellular telephone




       EVANS appearing to utilize a cellular telephone and megaphone in the Crypt of the Capitol


       Based on the foregoing, your affiant submits that there is probable cause to believe that
EVANS violated 18 U.S.C. § 1512(c)(2), which makes it a crime to corruptly otherwise obstruct,
influence, or impede any official proceeding, or to attempt to do so, or to conspire to do so.
Congressional proceedings are official proceedings under 18 U.S.C. § 1515(a)(1)(B).
          Case 1:21-cr-00225-DLF Document 1-1 Filed 02/24/21 Page 7 of 7




        Your affiant submits there is also probable cause to believe that EVANS violated 18 U.S.C.
§ 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any restricted
building or grounds without lawful authority to do; and (2) knowingly, and with intent to impede
or disrupt the orderly conduct of Government business or official functions, engage in disorderly
or disruptive conduct in, or within such proximity to, any restricted building or grounds when, or
so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
official functions. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that EVANS violated 40 U.S.C.
§ 5104(e)(2)(D) and Robert (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                      _________________________________
                                                      Special Agent Robert Mayo
                                                      Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 24th day of February, 2021.
                                                                              2021.02.24
                                                                              14:55:22 -05'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE
